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                                                                         I(j	    9/12/20173:50PM
                                                                               03-CV-2017-901429.00
                                                                               CIRCUIT COURT OF
                                                                         MONTGOMERY COUNTY, ALABAMA
                                                                           TIFFANY B. MCCORD, CLERK
                             IN THE CIRCUIT COURT OF
                          MONTGOMERY COUNTY, ALABAMA

M.B. 1, a minor, and M.B. 2, a minor *
Who sue by and through their parents, *
Legal Representatives and Next Friends *
MOSES BUTCHER, JR. and CLAIR *
BUTCHER, his wife,	                    *
                                       *
      Plaintiffs,	                     *
                                       *
V.	                                          *   CIVIL ACTION NO.______
                                             *
OUT-BACK SERVICES, INC.; * PLAINTIFFS DEMAND A TRIAL BY JURY
CTW TRANSPORTATION SERVICES, *
INC.; CTW TRUCKING SERVICES; *
CTW TRUCKING, INC., dfb/a 	                 *
CTW TRUCKING SERVICES; 	                    *
GARY S. MCCALL; and	                        *
Fictitious Defendants "A-Z", those	         *
persons or entities that contracted,	       *
loaded, unloaded the subject	               *
trailer, whose negligence, or other *
actionable conduct of which contributed *
to cause the injuries of M.B. 1 and M.B. 2,   *
                                            *
        Defendants.	                        *

                                        .COMPLAINT

         Plaintiffs, Moses Butcher, Jr., and Clair Butcher, his wife, as Parents, Legal

Representatives and Next Friends of M.B. 1, a minor, and M.B. 2, a minor, file this Complaint

for personal injuries against Defendants CTW Transportation Services, Inc., CTW Trucking

Services, CTW Trucking, Inc. dlb/a CTW Trucking Services, Out-Back Services, Inc., and Gary

S. McCall and show the Court as follows:

                              STATEMENT OF THE PARTIES

         1.	   Plaintiff, M.B. 1, is a minor who sues by and through her parents, legal

representatives and next friends, Moses Butcher, Jr. and Clair Butcher, his wife and is a citizen
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of Montgomery County, in the State of Alabama.

        2.      Plaintiff, M.B. 2, is a minor who sues by and through her parents, legal

representatives and next friends, Moses Butcher, Jr. and Clair Butcher, his wife and is a citizen

of Montgomery County, in the State of Alabama.

        3.      Plaintiff, Moses Butcher, Jr., is over the age of majority and is a and is a citizen of

Montgomery County, in the State of Alabama.

        4.      Plaintiff, Clair Butcher, is over the age of majority and is a citizen of Montgomery

County, in the State of Alabama.

        5.      Defendant Outback Services, Inc.'s (hereinafter "Out-Back") principal place of

 business is in Merriam, Kansas, Johnson County and is therefore a citizen of the State of

 Kansas.

        6.      Defendant CTW Transportation Services, Inc.'s (hereinafter "CTW

 Transportation") principal place of business is in Kansas City, Missouri, Jackson County and is

 therefore a citizen of the State of Missouri.

        7.      Defendant CTW Trucking Services principle place of business is in Alabama and

 is therefore a citizen of the State of Alabama.

        8.      Defendant CTW Trucking, Inc. dlb/a CTW Trucking Services principle place of

business is in Wadley, Alabama and is therefore a citizen of the State of Alabama.

        9.      Defendant Gary S. McCall (hereinafter "McCall") is over the age of majority and

is a citizen of the State of Kansas.

        10.     Fictitious Defendants "A-Z" are those persons or entities that contracted, loaded,

unloaded the subject trailer, whose negligence, or other actionable conduct of which contributed


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to cause the injuries of M.B. 1 and M.B. 2.

                                STATEMENT OF THE FACTS

       11.     On or about November 30, 2016, Defendant McCall was operating an 18-wheel

tractor trailer northbound in the left lane at the intersection of Troy Highway and Taylor Road, in

Montgomery, Alabama, running a red light which constitutes negligence per Se, and failure to

maintain a proper lookout causing the ti-tick he was driving to collide with the automobile driven

by Archie Johnson, who was properly and lawfully operating his vehicle. Due to the collisions

the vehicle driven by Mr. Johnson spun counter clockwise causing it to enter the southbound

lanes of Troy Highway and strike another vehicle.

       12.     Defendant McCall was an employee or agent of Defendants CTW Transportation,

CTW Trucking Services, CTW Trucking, Inc. dlb/a CTW Trucking Services and Out-Back, and

was operating a truck and trailer owned by Defendants CTW Transportation, CTW Trucking

Services, CTW Trucking, Inc. dlb/a CTW Trucking Services and/or Out-Back within the line and

scope of his employment with CTW Transportation, CTW Trucking Services, CTW Trucking,

Inc. dlb/a CTW Trucking Services and Out-Back. At all times mentioned herein, Defendants

CTW Transportation, CTW Trucking Services, CTW Trucking, Inc. dlb/a CTW Trucking

Services and Out-Back owned the vehicle being operated by Defendant McCall and had

permitted and entrusted Defendant McCall to use said vehicle.

       13.     On or about November 30, 2016, Archie Johnson was operating the 2014

Chevrolet Silverado vehicle traveling southbound on Taylor Road turning south onto US 231

South in Montgomery County, Alabama.



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         14.    Defendant McCall violated Alabama Rules of the Road and the Federal Motor

Carrier Safety Regulations by failing to stop at a red light and yield the right of way, etcetera,

which constitutes negligence per Se. Defendant McCall was also negligent in operating the

vehicle in that he failed to keep a proper lookout; failed to maintain proper control of his vehicle,

failed to operate his vehicle in a same manner under the circumstances then existing; and failed

to exercise ordinary care to avoid colliding with Mr. Johnson, the same constituting ordinary

negligence.

         15.    As a proximate result of the collision, M.B. 1 and M.B. 2 both suffered severe and

life threatening injuries.

         16.    This action is brought pursuant to Code ofAlabama, §6-5-410.


                                            (Negligence)

         17.    Plaintiffs reallegeparagraphs 1 through 16 of the complaint as if fully set out here

in.

         18.    At the aforesaid time and place, Defendant McCall negligently operated the 18-

wheel tractor trailer he was driving causing him to crash into the vehicle operated by Archie

Johnson then causing Mr. Johnson's vehicle to spin and crash into another vehicle.

         19.    As a proximate consequence of Defendant McCall's negligence, M.B. 1 and M.B.

2, both suffered severe and life threatening injuries.

         Wherefore, Plaintiffs, Moses Butcher, Jr., as Father, Legal Representative and Next

Friend of M. B. 1 and M. B. 2, demand judgment against Defendants in such amount as a jury

may award and her costs of this action.


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                                            COUNT TWO
                                             (Wantonness)
          20.     Plaintiffs reallege paragraphs 1 through 19 of the complaint as if fully set out

herein.

          21.     At the aforesaid time and place, Defendant McCall wantonly operated his the 18-

wheel tractor trailer so as to cause it to crash with the vehicle being driven by Archie Johnson.

          22.     As a proximate consequence of Defendant McCall's wantonness, M.B. 1 and

M.B. 2, both suffered severe and life threatening injuries.

          Wherefore, Plaintiffs, Moses Butcher, Jr., as Father, Legal Representative and Next

Friend of M.B. I and M.B. 2, demand judgment against Defendants in such amount as ajury

may award and her costs of this action.

                                           COUNT THREE
             (Negligent and Wanton Hiring, Retention, Training, Supervision,
  Policies and Procedures, etc. - CTW Transportation; CTW Truckinig Services; CTW
  Trucking, Inc. d/b/a CTW Trucking Services; Out-Back; and/or Fictitious Defendants)

          23.     Plaintiffs incorporate herein the allegations of paragraphs I through 22 as if fully

set out herein.

          24.     At all times, relevant to this lawsuit, CTW Transportation, CTW Trucking

Services, CTW Trucking, Inc. d/b/a CTW Trucking Services, Out-Back and all Fictitious

Defendants were acting within the line and scope of their employment. Accordingly, CTW

Transportation, CTW Trucking Services, CTW Trucking, Inc. d/b/a CTW Trucking Services,

Out-Back and all Fictitious Defendants are vicariously liable for the aforesaid negligent and

wanton conduct of said defendants/employees.



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        25.    CTW Transportation, CTW Trucking Services, CTW Trucking, Inc. dlb/a CTW

Trucking Services, Out-Back, and all Fictitious Defendants described herein, were negligent and

wanton in that they: negligently and wantonly hired, retained and failed to enforce, train,

supervise, monitor and implement policies and procedures that would prevent Or allow

Defendant McCall to operate its 2006 Kenworth tractor trailer in a manner causing him to crash

into the vehicle being operated by Archie Johnson then causing Mr. Johnson's vehicle to spin

and crash into another vehicle. CTW Transportation, CTW Trucking Services, CTW Trucking,

Inc. d!b/a CTW Trucking Services and Out-Back are in the trucking business which requires the

hauling of cargo by trucks on federal,, state, and county roads/highways. CTW Transportation,

CTW Trucking Services, CTW Trucking, Inc. d/b/a CTW Trucking Services, Out-Back, and all

Fictitious Defendants had a duty to Plaintiffs and others to hire competent drivers. CTW

Transportation, CTW Trucking Services, CTW Trucking, Inc. dib/a CTW Trucking Services,

Out-Back, and all Fictitious Defendants also had a duty to ensure the competency of its drivers

by properly training and supervising all drivers operating vehicles in the line and scope of

employment with CTW Transportation, CTW Trucking Services, CTW Trucking, Inc. d!b/a

CTW Trucking Services, Out-Back, and all Fictitious Defendants. The acts and/of omissions of

CTW Transportation, CTW Trucking Services, CTW Trucking, Inc. dib/a CTW Trucking

Services, Out-Back, and all Fictitious Defendants constitute negligent and wanton hiring,

retention, training, monitoring, and supervision.

       26.     As a result of CTW Transportation, CTW Trucking Services, CTW Trucking, Inc.

d!b/a CTW Trucking Services, Out-Back, and Fictitious Defendants' negligent and wanton

failure to ensure the competency of its drivers, enforce or implement reasonable safety policies
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and procedures, hire and retain qualified drivers and to train and supervise its drivers regarding

its policies and procedures, M.B. 1 and M.B. 2, both suffered severe and life threatening injuries.

        WHEREFORE, Plaintiffs Moses Butcher, Jr., and Clair Butcher, his wife, as Parents,

Legal Representatives and Next Friends of M.B. 1, and M.B. 2, demand judgment against

Defendants CTW Transportation; CTW Trucking Services; CTW Trucking, Inc. d!b/a CTW

Trucking Services; Out-Back, McCall, and Fictitious Defendants in such an amount of

compensatory and punitive damages as a jury may deem reasonable, necessary, and proper, and

the costs of this action.

                                              /s/LaBarron N. Boone
                                              LABARRON N. BOONE (B00029)
                                              counselfor Plaintiffs

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